






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00149-CV






In re Sasha M. Garcia







ORIGINAL PROCEEDING FROM WILLIAMSON COUNTY




M E M O R A N D U M   O P I N I O N



		Sasha M. Garcia filed this original proceeding seeking a writ of mandamus to compel
the trial court to reverse its order awarding temporary joint managing conservatorship of her son,
D.T., to the real party in interest, Robert Nguyen.  Based on the record before us, we cannot conclude
that the trial court abused its discretion in issuing its order.  See Jasek v. Texas Dep't of Family &amp;
Protective Servs., 348 S.W.3d 523, 534-37 (Tex. App.--Austin 2011, no pet.).  Accordingly, we
deny Garcia's petition for writ of mandamus.


						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Filed:   March 23, 2012


